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                                     6   TECHNOLOGY SERVICE, INC.
                                     7
                                                                     UNITED STATES DISTRICT COURT
                                     8
                                                                  NORTHERN DISTRICT OF CALIFORNIA
                                     9
WILLOUGHBY, STUART, BENING & COOK




                                    10   PEGATRON TECHNOLOGY SERVICE,                      Case No.: 5:18-cv-01477-LHK
                                         INC., an Indiana corporation,
                                    11
                                                              Plaintiff,                PLAINTIFF PEGATRON TECHNOLOGY
                                    12                                                  SERVICE, INC.’S NOTICE OF MOTION
                                                                                        and MEMORANDUM OF POINTS AND
                                    13   vs.                                            AUTHORITIES IN SUPPORT OF PARTIAL
                                                                                        SUMMARY JUDGMENT
                                    14
                                         ZURICH AMERICAN INSURANCE
                                    15   COMPANY, a New York corporation;                  Date:   October 24, 2019
                                         AMERICAN GUARANTEE & LIABILITY                    Time: 1:30 p.m.
                                    16   INSURANCE COMPANY, a New York                     Courtroom: 8
                                         corporation; and DOES 1 through 100,              Hon. Lucy H. Koh
                                    17   inclusive,
                                    18                        Defendants.                  [REDACTED VERSION]
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                                                 PLAINTIFF PEGATRON TECHNOLOGY SERVICE, INC.’S MOTION FOR PARTIAL SUMMARY JUDGMENT
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                         1                                NOTICE OF MOTION AND MOTION
                         2           NOTICE IS HEREBY GIVEN that on October 24, 2019, at 1:30 p.m., or as soon
                         3 thereafter as counsel may be heard by the above-entitled Court, in Courtroom 8 of the United

                         4 States District Court, Northern District of California, located at 280 South First Street, San Jose,

                         5 California, Plaintiff will and hereby does move the Court for partial summary judgment on the

                         6 grounds that there is no genuine issue as to any material fact, and Plaintiff is entitled to judgment

                         7 as a matter of law on the issues set forth below:

                         8           1.   That American Guarantee & Liability Ins. Co. ("AGLIC") owed a duty to defend the
                         9 binding mediation proceedings;
C O O K




                        10           2.   That AGLIC breached its duty to defend the binding mediation proceedings;
&




                        11           3.   That AGLIC owed a duty to indemnify the settlement;
B E N I N G




                        12           4.   That AGLIC breached its duty to indemnify the settlement;
                        13           If the Court for any reason declines to find each of the above issues in Plaintiff's favor,
S T U A R T ,




                        14 Plaintiff requests adjudication of the following issues:

                        15           5.    That the Contractual Liability Exclusion did not apply to preclude AGLIC's duty to
                        16 defend and indemnify the settlement;
W I L L O U G H B Y ,




                        17           6.    That the Recording and Distribution Exclusion did not apply to preclude AGLIC's
                        18 duty to defend and indemnify the settlement;

                        19           7.    That the Access or Disclosure Exclusion did not apply to preclude AGLIC's duty to
                        20 defend and indemnify the settlement;

                        21

                        22           Plaintiff's motion is based upon this Notice of Motion and Motion, the Memorandum of
                        23 Points and Authorities below, the Declaration of Alexander F. Stuart; Declaration of Kyle

                        24 Steinbrueck; Declaration of Zoe Chen; Declaration of Lily Chao; the Exhibits (confidential and

                        25 non-confidential); and all pleadings and papers on file in this action, and upon such additional

                        26 evidence and argument as may be presented to the Court at the time of the hearing.

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                         1                                            INTRODUCTION
                         2            This insurance coverage action arose after Defendant American Guarantee & Liability Ins.
                         3 Co. ("AGLIC") induced Plaintiff to agree to a binding mediation with the third party claimant, and

                         4 then abandoned Plaintiff, forcing Plaintiff to pay the substantial mediation award out of its own

                         5 pocket. (Plaintiff Pegatron Technology Service Inc., is hereafter referenced as "PTSI"). AGLIC

                         6 initially acknowledged coverage for the claim; consented to binding mediation with the claimant

                         7 with high-low settlement parameters; waived the No Voluntary Payments condition of the policy,

                         8 and AGLIC also appeared at the binding mediation. After expressly waiving the No Voluntary

                         9 Payments condition, AGLIC then invoked the clause anyway, and disclaimed its obligations under
C O O K




                        10 its policies based upon a misapplication of exclusions, and based upon its own misinterpretation of
&




                        11 obscure phrases in the exclusions. AGLIC breached its duty to defend and its duty to indemnify
B E N I N G




                        12 the settlement, and this motion seeks an adjudication of those legal issues, and alternatively,

                        13 various sub-issues regarding coverage.
S T U A R T ,




                        14            Many of the facts involved in this claim are highly confidential, including the identity of
                        15 the third party claimant ("Jane Doe"), and the entity whom PTSI was obligated to indemnify

                        16 (PTSI's "Customer"), so they are referenced by generic names in this motion.
W I L L O U G H B Y ,




                        17            I.     SUMMARY JUDGMENT STANDARDS
                        18            Summary judgment may be granted where “there is no genuine dispute as to any material
                        19 fact and the moving party is entitled to judgment as a matter of law”. (F.R.C.P. 56 (a).) The Court

                        20 may grant summary judgment on each claim or defense or upon part of each claim or defense. Id.

                        21 If the court does not grant all the relief requested by the motion, it may enter an order stating any

                        22 material fact - including an item of damage or other relief - that is not genuinely in dispute, and

                        23 treat the fact as established in the case. (F.R.C.P. 56 (g).)

                        24            California law controls this dispute in diversity. Freeman v. Allstate Life Ins. Co., 253
                        25 F.3d 533, 536 (9th Cir, 2001). Under California law, "interpretation of an insurance policy is a

                        26 question of law that is decided under settled rules of contract interpretation. State v. Continental

                        27 Ins. Co., 55 Cal.4th 186, 195 (2012). Whether an insurer owes a duty to defend is a question of

                        28 law. Waller v. Truck Ins. Exchange, Inc., 11 Cal.4th 1, 18 (1995). With respect to the underlying

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                         1 tort claims made by Jane Doe (an Oregon resident), there is no conflict in the laws of California

                         2 and Oregon regarding the privacy torts, and the law of the forum state is thus applied. Genesis

                         3 Insurance Co. v. BRE Properties, 916 F.Supp.2d 1058, 1065 (N.D.Cal., 2013). 1

                         4            II.    FACTS
                         5            A. Underlying Claim
                         6            The claim at issue resulted when a female college student, Jane Doe, discovered that
                         7 sexually explicit photos and a video she had stored on her mobile phone had been uploaded to her

                         8 Facebook page. The uploading occurred while Jane Doe’s mobile phone was undergoing repairs at

                         9 Plaintiff PTSI's facility in Elk Grove, California. (Confidential Ex's 4, 5, 6.) PTSI performs
C O O K




                        10 repair services at a facility for its customer in Elk Grove. (Confidential Ex's. 26, 27). (PTSI’s
&




                        11 customer is referenced as "Customer".) Jane Doe had shipped the phone to PTSI's repair facility
B E N I N G




                        12 on January 12, 2016. Shortly thereafter, friends informed her of the sexually explicit images on

                        13 her Facebook page. (Confidential Ex's 4, 5, 6.) The manner in which the images were uploaded
S T U A R T ,




                        14 suggested that Jane Doe had uploaded the images herself, casting Jane Doe in the falsest of light,

                        15 and causing her severe emotional distress. (Confidential Ex. 5, 6.)

                        16            PTSI operated the Elk Grove facility with employees of Third Party Vendor that provided
W I L L O U G H B Y ,




                        17 skilled technical workers. (Confidential Ex's. 25, 26, 27).    The employment services agreement
                        18 between PTSI and Third Party Vendor contained a reciprocal indemnity provision, and provided

                        19 that PTSI was responsible for any claim arising from its own conduct, including the failure to

                        20 properly supervise Third Party Vendor's employees. (Confidential Ex. 25 ¶9).

                        21            On January 25, 2016, a lawyer representing Jane Doe sent a letter to Customer reporting
                        22 the incident and demanding the preservation of evidence. (Confidential Ex 4.) On February 4,

                        23 2016, the lawyer sent a follow-up letter describing the incident and demanding $5 million to settle

                        24 all claims. (Confidential Ex 5.)

                        25            After an exhaustive investigation, Customer determined that two employees of the Third
                        26
                              1
                                There are conflicts on issues of respondeat superior liability and the power of a trial court (state
                        27    or federal) to review a compensatory damages award for excessiveness, issues that might become
                              relevant if AGLIC attacks the settlement on grounds that neither PTSI nor Customer faced
                        28    respondeat superior liability, or that the amount of the settlement was excessive.

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                         1 Party Vendor had uploaded the images to Jane Doe’s Facebook page, and the agency promptly

                         2 fired both of them. (Confidential Ex's 5, 7).

                         3           B. Customer Tenders to Pegatron and PTSI
                         4           On February 4, 2016, Customer tendered Jane Doe’s claims to Pegatron [REDACTED
                         5                                              REDACTED
                         6    REDACTED            ] (Confidential Ex. 7 [tender]; Confidential Ex. 26 [MSA].)
                         7           The repair services were performed by Pegatron's subsidiary, PTSI, pursuant to a Repairs
                         8 Services Agreement ("RSA") between Customer, Pegatron and PTSI. The RSA incorporated the

                         9 terms of the MSA, including an indemnity provision requiring that Pegatron and/or PTSI defend
C O O K




                        10 and indemnify Customer against claims like those brought by Jane Doe. (Confidential Ex. 27 [RSA]
&




                        11 - incorporation provision is at pg. 1; (Confidential Ex. 26, [MSA] - indemnity provision is ¶7.1).
B E N I N G




                        12           On February 19, 2016, Customer tendered Jane Doe’s claims to PTSI under the indemnity
                        13 provisions of the MSA. (Confidential Ex. 8).
S T U A R T ,




                        14           C. PTSI Tender to AGLIC and Response
                        15           On February 22, 2016, PTSI tendered the claims of Jane Doe and Customer to AGLIC
                        16    under a policy of commercial general liability ("CGL") insurance issued to PTSI as named insured.
W I L L O U G H B Y ,




                        17    (Confidential Ex. 9). On February 24, 2016, Pegatron sent AGLIC all of the documents AGLIC
                        18    requested in response to the tender letter, including the employment services agreement between
                        19    PTSI and Third Party Vendor, and the MSA between and Customer and Pegatron. (Confirmed in
                        20    Confidential Ex 10). On February 25, 2016, Pegatron's counsel, Zoe Chen, informed AGLIC's

                        21    handling adjuster that Customer wanted to negotiate an early pre-litigation settlement, and that

                        22    [REDACTED
                        23    REDACTED ]
                        24           Jane Doe’s lawyer had countered with             [REDACTED]
                        25    [REDACTED]                                                       Chen emphasized to AGLIC that
                        26 PTSI and its insurer needed to cooperate with Customer:

                        27                                             [REDACTED]
                        28

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                         1                                            [REDACTED]
                         2

                         3

                         4           (Confidential Ex. 10)
                         5           AGLIC responded by email, confirming that Pegatron had coverage under the policy.
                         6 (Confidential Ex. 11). After informing Chen that PTSI could count on $1 million of primary

                         7 coverage, AGLIC then stalled the process of committing to binding mediation with a long series of

                         8 questions. (Confidential Ex. 12).

                         9            Customer moved expeditiously to finalize a binding mediation agreement [REDACTED
C O O K




                        10                            ], which was fully executed by Customer and Jane Doe on February 26,
&




                        11 2016. (Confidential Ex. 13). Customer then asked Pegatron, PTSI and Third Party Vendor to
B E N I N G




                        12 indemnify the results of the binding mediation, requesting written confirmation on February 26,

                        13 2016 that Pegatron/Third Party Vendor would be indemnifying Customer for the full amount of the
S T U A R T ,




                        14 settlement [REDACTED

                        15   REDACTED] (Confidential Ex. 14). Since AGLIC had not yet given its consent for mediation,
                        16 Pegatron and PTSI retained outside counsel. Customer agreed to extend the deadline for
W I L L O U G H B Y ,




                        17 confirmation to March 4, 2016, and outside counsel informed AGLIC of the imminent deadline.

                        18 (Confidential Ex. 15).

                        19           PTSI's counsel continued to emphasize the urgency of the situation and request
                        20 confirmation from AGLIC that AGLIC consented to settlement. (Confidential Ex.16).

                        21           When AGLIC had failed to commit by the March 4 deadline imposed by Customer,
                        22 Pegatron's general counsel advised Customer that it would fund the [REDACTED]settlement

                        23 Customer was proposing:

                        24                                            [REDACTED]
                        25

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                         1           (Confidential Ex. 17).
                         2           Several hours later, on March 4, 2016, AGLIC's coverage counsel confirmed that AGLIC
                         3 would not assert the "no voluntary payments" condition as a defense to coverage for the claim.

                         4 (Confidential Ex. 18).

                         5           D. Binding Mediation March 23, 2016
                         6           Jane Doe’s claims proceeded to binding mediation in Portland, Oregon on March 22,
                         7 2016. The mediation proceeded with AGLIC's consent, with AGLIC itself participating through

                         8 its coverage counsel. Despite consenting to and participating in the mediation, AGLIC did not

                         9 provide a defense to PTSI.
C O O K




                        10           Before mediation, Jane Doe had [REDACTED                                    ] and when the
&




                        11 parties reached an impasse in settlement negotiations, the mediator (a retired local judge) issued a
B E N I N G




                        12 binding award of [REDACTED] The award was reduced to a written settlement agreement.

                        13 (Confidential Ex. 19).
S T U A R T ,




                        14           E. AGLIC’s Post-Mediation Denial of Coverage
                        15           On April 7, 2016, AGLIC denied coverage under the CGL policy, and on April 27, 2016,
                        16 AGLIC denied coverage under its excess policy. (Confidential Ex's. 20, 21). Incredibly, AGLIC
W I L L O U G H B Y ,




                        17 denied coverage based upon the policy’s “no voluntary payments” condition despite the fact that it

                        18 had expressly waived that defense prior to the mediation. (Confidential Ex. 20, pgs. 9, 11).

                        19           F. Pegatron and PTSI’s Settlement with Customer
                        20           Pegatron and PTSI entered into a written settlement agreement with Customer in July

                        21 2016. (Confidential Ex. 22.) The agreement called for [REDACTED

                        22                                          REDACTED

                        23 REDACTED]
                                     G. Tender of Indemnification to AGLIC
                        24
                                     On July 13, 2016, Pegatron and PTSI wrote to AGLIC responding to AGLIC’s denial
                        25
                           letters and requesting reconsideration. (Confidential Ex. 23.) The letter noted that [REDACTED
                        26
                           REDACTED                                                                    ] and that PTSI was
                        27
                           suffering extreme financial hardship as a consequence.
                        28

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                         1           H. AGLIC’s Wrongful Reaffirmation of Denial
                         2           On September 6, 2016, AGLIC reaffirmed its wrongful denial of coverage. (Confidential
                         3 Ex. 24.) The letter was unduly hostile, beginning with an extraordinary attack of Pegatron and

                         4 PTSI’s counsel, whom AGLIC falsely accused of misrepresentation. The letter first confirmed that

                         5 AGLIC had indeed waived its right to assert a “voluntary payments” defense. AGLIC, however,

                         6 falsely accused counsel for Pegatron and PTSI of misrepresentation based upon AGLIC's own

                         7 misreading of the MSA and RSA. AGLIC erroneously concluded that the MSA and and RSA "did

                         8 not contain or incorporate an indemnity agreement in favor of [Customer] or Pegatron against

                         9 PTSI." (Confidential Ex. 24, pg. 2.) In fact, the MSA did contain an express indemnity provision,
C O O K




                        10 and the RSA incorporated the indemnity provision. (Confidential Ex. 27 [RSA] - incorporation
&




                        11 provision is at pg. 1; (Confidential Ex. 26, [MSA] - indemnity provision is ¶7.1).
B E N I N G




                        12           I. PTSI’s Indemnity Obligation
                        13           The parties to the RSA are Customer, Pegatron and PTSI. Pegatron and PTSI are
S T U A R T ,




                        14 described “collectively” as “Supplier.” The RSA then “incorporates terms” of the MSA “by

                        15 reference.” (Confidential Ex. 27 [RSA] - incorporation provision is at pg. 1). Clarifying language

                        16 follows the incorporation of the MSA. First, the RSA states that “[u]nless otherwise defined, the
W I L L O U G H B Y ,




                        17 capitalized terms shall have the same meaning as such terms in the MSA.” Next, the RSA states

                        18 that in case of any “conflict in terms between this RSA and MSA, the terms of this RSA shall

                        19 control.” (Confidential Ex. 27, pg. 1). This means that the RSA’s definition of “Supplier”

                        20 (Pegatron and PTSI collectively) controls interpretation of the MSA’s indemnity obligation

                        21 imposed upon the “Supplier”:

                        22           Supplier shall indemnify, hold harmless and upon [Customer’s] request defend
                        23           [Customer]
                                      . . . from and against all claims, charges, and causes of action of any type . . .
                        24           arising out or in connection with:

                        25           (a) Supplier’s failure to comply with the terms of this Agreement, including
                                     the data privacy and security requirements described under Section 9, and/or
                        26           applicable Federal, state or local law, statute, common law regulation or ordinance;
                        27
                                     (b) Any negligent act or omission, or any willful misconduct, on the part of
                        28           of Supplier or Supplier’s Employees or their respective subcontractors, agents

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                         1           or the like in the performance of the Services.
                         2           (Exhibit 26, MSA ¶7.1.)
                         3           To incorporate the terms of the MSA, it was necessary for Customer only to reference
                         4 “terms of the MSA,” and make the document containing those terms available to PTSI. Chan v.

                         5 Drexel Burnham Lambert, Inc. (1986) 178 Cal.App.3d 632, 641. It was not necessary to recount

                         6 each term by paragraph or page number.

                         7           III. AGLIC'S COVERAGE
                         8           A. CGL Coverage for Publication of Material in Violation of Rights of Privacy
                         9           AGLIC issued the liability coverage in the CGL policy providing "personal and
C O O K




                        10 advertising injury" coverage. The coverage was to protect PTSI against any "oral or written
&




                        11 publication, in any manner, of material that violates a person's right of privacy".
B E N I N G




                        12           1. Insuring Agreement
                        13           a. We will pay those sums that the insured becomes legally obligated to pay as
                                     damages because of "personal and advertising injury" to which this insurance applies.
S T U A R T ,




                        14           We will have the right and duty to defend the insured against any "suit" seeking those
                                     damages. However we will have no duty to defend the insured against any "suit" seeking
                        15           damages for "personal and advertising injury" to which this insurance does not apply.
                                     We may, at our discretion, investigate any offense and settle any claim or "suit" that may
                        16           result . . .
W I L L O U G H B Y ,




                        17
                                     b. This insurance applies to "personal and advertising injury" caused by an offense
                        18           arising out of your business but only if the offense was committed in the "coverage
                                     territory" during the policy period.
                        19
                                     (Exhibit 1 pg. "Zurich 000181").
                        20
                                     SECTION V - DEFINITIONS
                        21
                                      3. "Bodily injury" means bodily injury, sickness or disease sustained by a person,
                        22           including death resulting from any of these at any time.
                        23           14. "Personal and advertising injury" means injury, including consequential "bodily
                        24           injury", arising out of one or more of the following offenses:

                        25           * * *
                                     e. Oral or written publication, in any manner, of material that violates a person's
                        26           right of privacy;
                                     (Exhibit 1 pgs. "Zurich" 000188, 000190).
                        27

                        28

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                         1            B. Commercial Umbrella Coverage for Publication of Material in Violation of
                                         Rights of Privacy
                         2
                                      AGLIC's Commercial Umbrella Liability Policy includes both "Excess Follow Form
                         3
                             Liability Insurance" and Umbrella Liability Insurance. The Excess coverage applies excess of
                         4
                             AGLIC's CGL liability coverage pursuant to the same terms and conditions as that underlying CGL
                         5
                             coverage, with limits of $10,000,000. (Exhibit 2 pgs. "Zurich" 000365, 000370).
                         6
                                      The Umbrella coverage applies on a primary basis when the CGL policy does not apply
                         7
                             (the coverage "does not apply to any loss, claim or suit for which insurance is afforded under
                         8
                             underlying insurance or would have been afforded except for the exhaustion of the Limits of
                         9
C O O K




                             Insurance of underlying insurance"). (Exhibit 2 pgs. "Zurich" 000370). An “umbrella policy”
                        10
                             fills in gaps in coverage left open by the primary insurance. Wells Fargo Bank v. California
&




                        11
                             Insurance Guarantee Assn. 38 Cal.App.4th 936, 940 fn2 (1995). The Umbrella Liability Policy
B E N I N G




                        12
                             provides "personal and advertising injury" coverage, which is defined as:
                        13
                                             12. Personal and advertising injury means injury, including consequential
S T U A R T ,




                        14
                                      bodily injury, arising out of one or more of the following offenses:
                        15
                                      * * *
                        16                    e. Oral or written publication, in any manner, of material that violates a person's
W I L L O U G H B Y ,




                                      right of privacy.
                        17

                        18            * * *
                                      Personal and advertising injury also means mental anguish, mental injury, humiliation,
                        19            or shock, if directly resulting from an offense listed in items 12.a through 12.h above.

                        20            (Exhibit 2 pgs. "Zurich" 000370, 000382).
                        21
                                      IV. AGLIC'S DUTY TO DEFEND
                        22
                                      A. Policy Provisions Obligating Defense
                        23
                                      The CGL Policy obligated AGLIC to provide a defense to PTSI. As set forth above, the
                        24
                             Policy imposes a duty upon AGLIC to "defend the insured against any 'suit' " seeking damages
                        25
                             because of "personal and advertising injury" to which the policy applies. (Exhibit 1 pg. "Zurich"
                        26
                             000181). The policy defines "suit" to include the binding mediation at issue which proceeded
                        27
                             pursuant to AGLIC consent and with AGLIC's participation:
                        28

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                         1            SECTION V - DEFINITIONS
                                      18. "Suit" means a civil proceeding in which damages because of "bodily injury",
                         2            "property damage" or personal and advertising injury" to which this insurance applies are
                         3            alleged. "Suit" includes:

                         4            a. An arbitration proceeding in which such damages are claimed and to which the insured
                                      must submit or does submit with our consent; or
                         5
                                      b. Any other alternative dispute resolution proceeding in which such damages are claimed
                         6
                                      and to which the insured submits with our consent.
                         7
                                      (Exhibit 1 pg. "Zurich" 000191).
                         8
                              AGLIC's Umbrella Liability Policy also imposed a duty to defend:
                         9
C O O K




                                      A. We have the right and duty to assume control of the investigation and settlement of
                        10
                                      any claim, or defense of any suit against the insured for damages covered by this policy:
&




                        11
                                      ***
B E N I N G




                        12            2. Under Coverage B, when damages are sought for bodily injury, property damages, or
                                      personal and advertising injury to which no underlying insurance or other insurance
                        13            applies.
S T U A R T ,




                        14
                                      (Exhibit 2 pg. "Zurich" 000372).
                        15
                                      The Policy's definition of "Suit" encompasses the binding mediation:
                        16
W I L L O U G H B Y ,




                                      6. Suit means a civil proceeding in which injuries or damages to which this insurance
                        17            applies are alleged. Suit includes:
                        18
                                      a. An arbitration proceeding in which such damages are claimed and to which the insured
                        19            must submit or does submit with our consent; or

                        20            b. Any other alternative dispute resolution proceeding in which such damages are claimed
                                      and to which the insured submits with our consent.
                        21

                        22            (Exhibit 2 pg. "Zurich" 000379).

                        23            B. An Insurer's Defense Obligation is Triggered by a Mere Possibility of a
                                         Claim Within the Scope of Coverage
                        24
                                      "An insurer faces an uphill battle from the beginning because the duty to defend in
                        25
                             California is extensive." Century Surety Co. v. United Specialty Ins. Co., 2018 U.S. Dist. LEXIS
                        26
                             69807 *13 (C.D. Cal., 2018) [internal citation omitted]. An insurer's duty to defend is broader
                        27
                             than the duty to indemnify, and it may apply even in an action where liability under the policy
                        28

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                         1 ultimately fails to materialize. Montrose Chemical Corp. v. Superior Court, 6 Cal.4th 287, 299

                         2 (1993). “[T]he duty to defend may exist where coverage is questionable and ultimately found

                         3 lacking [citations omitted], and any doubt must be resolved in favor of the insured.” Amato v.

                         4 Mercury Casualty Co.,18 Cal.App.4th 1784, 1790 (1993); Montrose at 300.

                         5            To establish that an insurer owed a duty to defend, an insured has only the minimal burden
                         6 to show that there was a potential for coverage under the insuring agreement of the Policy.

                         7 Montrose, supra at 300-301. An insured is entitled to a defense if the underlying complaint alleges

                         8 liability for damages potentially covered under the policy, or if the complaint might be amended to

                         9 give rise to a liability that would be covered. Id.; Gray v. Zurich, 65 Cal.2d 263, 275-276 (1966).
C O O K




                        10 Facts extrinsic to the complaint also give rise to a duty to defend when they reveal a possibility that
&




                        11 the claim may be covered by the policy. Montrose, supra at 295. An insurer has an immediate
B E N I N G




                        12 duty to defend incepting upon tender of the claim to the insurer. Id.

                        13            Once the insured has met its minimal burden to make a prima facie showing of the
S T U A R T ,




                        14 potential for coverage, the burden then shifts to the insurer to show that undisputed facts

                        15 conclusively eliminated the potential for coverage. Montrose, supra, at 300. The insurer must

                        16 prove the claim cannot fall within the policy's coverage. Id. An insurer may defeat a motion for
W I L L O U G H B Y ,




                        17 summary judgment only by producing undisputed extrinsic evidence conclusively eliminating the

                        18 potential for coverage under the policy. Century Surety Co , supra, 2018 U.S. Dist. LEXIS 69807

                        19 *14. An insurer cannot deny a defense on grounds that an exclusion might apply. An insurer is

                        20 obligated to provide a defense where an exclusion arguably applies but may reasonably be

                        21 interpreted to be inapplicable to the alleged facts. Aroa Marketing, Inc. v. Hartford Ins. Co. of

                        22 Midwest, 198 Cal.App.4th 781, 786 (2011).

                        23            Evidence which merely places in dispute whether the insured’s actions will eventually be
                        24 determined to fall outside the insuring agreement, or fall within an exclusion, is insufficient to

                        25 defeat the insured’s right to summary adjudication of the duty to defend. Montrose at 300, 304.

                        26 When the evidence does not eliminate the possibility that the insured’s conduct is covered, the duty

                        27 to defend is established. Montrose at 301. The mere existence of a question of fact dispositive of

                        28 coverage establishes the duty to defend. Horace Mann Ins. Co. v. Barbara B. (1993) 4 Cal.4th

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                         1 1076, 1085.

                         2            V. AGLIC'S DUTY TO INDEMNIFY THE SETTLEMENT
                         3            An insured who has been abandoned by its insurer and elects to settle rather than risk an
                         4 adverse judgment is entitled to an evidentiary presumption in litigation against the insurer. Pruyn

                         5 v. Agricultural Ins. Co. 36 Cal.App.4th 500, 527 (1995). The settlement becomes presumptive

                         6 evidence of the liability of the insured, and the amount thereof. Id. at 525. For the presumption to

                         7 arise, the insured need only establish the following foundational facts: (1) the insurer wrongfully

                         8 failed to provide coverage or a defense; (2) the insured thereafter entered into a settlement which

                         9 was (3) reasonable in the sense that it reflected an informed and good faith effort by the insured to
C O O K




                        10 resolve the claim. Id. at 528. The evidentiary presumption given to the insured is one which
&




                        11 affects the burden of proof. Id. at 529. Presumptions affecting the burden of proof are established
B E N I N G




                        12 in order to implement public policy concerns, and are "justifiably given greater weight". Id. at 529.

                        13 When an insurer has breached the insurance policy, there is an obvious need, as a matter of policy,
S T U A R T ,




                        14 to permit the insured to protect its position by settling the third party's claim, so long as the

                        15 settlement is reasonable. Id. at 530. "It is sound and rational to conclude that the burden of

                        16 showing that the settlement does not reflect the fact and amount of the insured's liability should fall
W I L L O U G H B Y ,




                        17 upon the insurer whose breach has occasioned the settlement". Id. (emphasis original, internal

                        18 citation omitted). Additionally, "[t]he insurer, not the insured, has the burden of proving by a

                        19 preponderance of the evidence that the settlement payments were allocable to claims not actually

                        20 covered, and the defense costs were allocable to claims not even potentially covered". Navigators

                        21 Specialty Ins. Co. v. Moorefield Construction, Inc., 6 Cal.App.5th 1258, 1287 (2016).

                        22            VI.   JANE DOE'S CLAIM WAS WITHIN THE SCOPE OF AGLIC'S
                        23                  COVERAGE
                                      The publication of Jane Doe's photos and video easily qualify as a written publication of
                        24
                             material "in any manner" that violates a person's right of privacy. The publication humiliated Jane
                        25
                             Doe, subjecting Customer and PTSI to liability in tort for (1) the publication of private facts, and
                        26
                             (2) false light publicity. The latter tort arises from the negative inference others could draw from
                        27
                             publishing sexually explicit images to Jane Doe's Facebook page, namely that she had published
                        28

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                         1 the images herself.

                         2            To construe the scope of "personal injury" coverage, courts look to substantive law
                         3 regarding the personal injury "offenses". See Fibreboard Corp. v. Hartford Accident & Indem.

                         4 Co. 16 Cal.App.4th 492, 511 (1993) (because the offenses listed in the definition of “personal

                         5 injury” are not defined, courts “give them meaning by reference to their common law elements”.)

                         6 California recognizes four common law privacy torts: (1) public disclosure of private facts; (2)

                         7 intrusion into private places, conversations, or other private affairs; (3) presentation to the public in

                         8 a false light; and (4) misappropriation of one's image or personality. Shulman v. Group W

                         9 Productions (1998) 18 Cal.4th 200, 214.
C O O K




                        10            Liability for "public disclosure of private facts" arises when unwanted publicity is given to
&




                        11 private aspects of a person's life. Shulman, supra at 214. The elements of the tort are (1) public
B E N I N G




                        12 disclosure (2) of a private fact (3) which would be offensive and objectionable to the reasonable

                        13 person and (4) which is not of legitimate public concern. Id. Public disclosure of private "facts" is
S T U A R T ,




                        14 not limited to those recorded in a writing, but expansively encompasses the publication of pictures

                        15 and even oral statements. Ignat v. Yum! Brands, Inc., 214 Cal.App.4th 808, 815-819 (2013).

                        16            A "false light" claim requires a disclosure creating a false impression about someone
W I L L O U G H B Y ,




                        17 which states or implies something highly offensive that would have a tendency to injure their

                        18 reputation. Solano v. Playgirl, Inc., 292 F.3d 1078, 1082 (9th Cir., 2002). "False light" publicity

                        19 "exposes a person to hatred, contempt, ridicule, or obloquy and assumes the audience will

                        20 recognize it as such". M.G. v. Time Warner, Inc., 89 Cal.App.4th 623, 636 (2001). A showing of

                        21 malice is only required for public figures. Id. "It is well-established that a defendant is liable for

                        22 what is insinuated as well as for what is stated explicitly." Solano, supra at 1083. In Solano, the

                        23 court held that a Playgirl magazine cover which featured a photograph of an actor could create the

                        24 false impression that readers could expect to find nude photos of the actor inside the magazine (id.

                        25 at 1083), and that the actor "was not the wholesome person he claimed to be, that he was willing to

                        26 - or was 'washed up' and had to - sell himself naked to a women's sex magazine". Id.at 1084. The

                        27 Court of Appeals cited with approval a decision from another district in which an actress asserted a

                        28 false light claim based upon Hustler magazine's insinuation that she was the kind of person to pose

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                         1 nude for Hustler. Solano, supra at 1083, citing Douglass v. Hustler Magazine, 769 F.2d 1128 (7th

                         2 Cir., 1985). The United States Supreme Court has confirmed the privacy interest that exits

                         3 regarding the contents of a smart phone. Riley v. California, 573 U.S. 373, 375-376, 134 S.Ct.

                         4 2473, 189 L.Ed.2d 430 (2014). Even celebrities retain a privacy interest in their sex lives and

                         5 intimate details of their lives. Michaels v. Internet Entertainment Group, Inc., 5 F. Supp. 2d 823,

                         6 840 (C.D.Cal., 1998).

                         7            The posting to Facebook of Jane Doe's private photos and videos satisfied the policy's
                         8 requirement of "a publication, in any manner". "Publication" means "making known" to third

                         9 parties. Yahoo! Inc. v. National Union Fire Ins. Co., 255 F. Supp. 3d 970, 975 (N.D.Cal., 2017).
C O O K




                        10 The personal injury provision thus covers injury caused by the disclosure of private content to third
&




                        11 parties. Id. The phrase "in any manner" modifies "publication", and means that information may
B E N I N G




                        12 be made known in any way in order for coverage to apply. Id. at 977. "Any manner" of

                        13 publication involves any medium by which material is published. Id.
S T U A R T ,




                        14            Finally, Jane Doe's claim satisfied the policies' requirement of injury. The CGL policy
                        15 defines injury to include "consequential 'bodily injury', arising out of a personal injury offense."

                        16 (Exhibit 1 pg. 000190). "Bodily injury" includes physical injury resulting from emotional
W I L L O U G H B Y ,




                        17 distress. Abellon v. Hartford Ins. Co., 167 Cal.App. 3d 21, 27-29 (1985); M.C. v. Princeton

                        18 Excess & Surpluss Lines Inc. Co., 2017 U.S. Dist LEXIS 116278, *19-*23. Additionally,

                        19 AGLIC's Umbrella Policy expressly defines injury to include "mental anguish, mental injury,

                        20 humiliation, or shock" directly resulting from a personal injury offense. (Exhibit 2 pg. 000382).

                        21            VII.   AGLIC'S WRONGFUL DENIAL OF ITS OBLIGATIONS
                        22            AGLIC denied coverage on multiple grounds, none of which are valid. AGLIC invoked
                        23 the "no voluntary payments" clause which AGLIC had expressly waived; AGLIC denied coverage

                        24 based upon exclusions which do not apply; and AGLIC stood upon its specious assertion that PTSI

                        25 faced no liability for publication of the photos and video. (Confidential Ex's. 20, 21, 24).

                        26            AGLIC has the burden to prove there is no conceivable possibility of an injury falling
                        27 outside the scope of its exclusions. An insurer that wishes to rely on an exclusion has the burden

                        28 of proving through conclusive evidence that the exclusion applies in all possible worlds. Atlantic

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                         1 Mutual Ins. Co. v. J. Lamb, Inc., 100 Cal.App.4th 1017, 1039 (2002). Insurance coverage

                         2 provisions are "interpreted broadly so as to afford the greatest possible protection to the insured,

                         3 whereas exclusionary clauses are interpreted narrowly against the insurer". MacKinnon v. Truck

                         4 Insurance Exchange, 31 Cal.4th 635, 648 (2003). To hold in favor of the insured, the court need

                         5 not determine that the insurer’s interpretation is not possible or is not reasonable. Id. at 655. Even

                         6 assuming the insurer’s interpretation is reasonable, a finding of coverage must be affirmed so long

                         7 as there is any other interpretation under which recovery may be permitted. Id. If an insurer’s

                         8 interpretation is considered reasonable, the insurer still cannot prevail unless it also establishes that

                         9 its interpretation is the only reasonable one. Id.(emphasis original).
C O O K




                        10              A. AGLIC Wrongfully Denied Coverage on Grounds PTSI Had No Liability
                                           for the Publication of the Photos and Video
&




                        11
B E N I N G




                                      PTSI faced liability on two fronts, but AGLIC deliberately ignored one basis of liability,
                        12
                             and deliberately misinterpreted the document giving rise to the other avenue of liability. PTSI's
                        13
                             liability stemmed from (1) its direct tort liability to Jane Doe; and (2) from its duty to indemnify
S T U A R T ,




                        14
                             Customer for the liability to Jane Doe. In this coverage action, the settlement constitutes
                        15
                             presumptive evidence of PTSI's liability to Jane Doe, and the amount of damages sustained by Jane
                        16
W I L L O U G H B Y ,




                             Doe. Pruyn, supra, 36 Cal.App.4th 500, 525.
                        17

                        18              B. AGLIC Wrongfully Denied Coverage Based Upon a Contractual Liability
                                           Exclusion
                        19
                                      AGLIC contends that coverage is barred by a contractual liability exclusion (while at the
                        20
                             same time asserting the inconsistent position that PTSI had no contractual liability to Customer.)
                        21
                             (Confidential Ex's. 20, 21, 24). The Exclusion provides that AGLIC has no obligation to indemnify
                        22
                             PTSI against "personal and advertising injury" for which PTSI has "assumed liability in a contract
                        23
                             or agreement". (Exhibit 1 pg. "Zurich" 000159). An exception to the exclusion provides that it
                        24
                             does not apply to "liability for damages that the insured would have in the absence of the contract
                        25
                             or agreement". (Exhibit 1 pg. 000159). The exception parses liability for tort damages, so that the
                        26
                             exclusion applies only when the insured is exposed to liability for contract damages. Roger H.
                        27
                             Proulx & Co. v. Crest-Liners, Inc., 98 Cal.App.4th 182, 203 (2002). In Proulx, the court observed
                        28

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                         1 that the exclusion applies only in situations where the insured’s liability derives exclusively from

                         2 the assumption of duties under a contractual indemnity provision. Id. at 202. If the insured’s

                         3 liability derives from other duties owed, the exclusion has no effect. See also Lumbermens Mutual

                         4 Casualty Co. v. Corning, Inc., 2008 U.S. Dist. LEXIS 126717 *48 (C.D.Cal., 2008).

                         5            AGLIC had no basis to assert that PTSI exclusively faced exposure to contractual
                         6 indemnity. PTSI assumed custody of Jane Doe's phone, employed Third Party Vendor workers to

                         7 repair the phone, and undertook responsibility for Internet connection to the phone, and as such,

                         8 PTSI owed legal duties to Jane Doe to protect her from invasions of privacy arising from PTSI’s

                         9 repair activities. (Confidential Exhibits 5, 8, 25, 26, 27, and Ex. 27 pg. PTSI002532 opening
C O O K




                        10 paragraph [re PTSI responsibility for connectivity].
                                        C.   AGLIC Wrongfully Denied Coverage Based Upon a Recording and
&




                        11
                                             Distribution Exclusion
B E N I N G




                        12
                                             1. The Exclusion Does Not Encompass Jane Doe's Claim
                        13
                                      AGLIC denied coverage based on an exclusion titled “Recording and Distribution of
S T U A R T ,




                        14
                             Material or Information in Violation of Law”. (Confidential Ex's. 20, 21 pg.6, 24 pg.7). This
                        15
                             exclusion begins with the elimination of coverage for any “personal and advertising injury” that
                        16
W I L L O U G H B Y ,




                             arises out of any “action or omission that violates or is alleged to violate” (1) the Telephone
                        17
                             Consumer Protection Act (“TCPA”), its amendments and additions, (2) the CAN-SPAM Act of
                        18
                             2003, its amendments and additions; and (3) the Fair Credit Reporting Act (“FCRA”), its
                        19
                             amendments and additions, including the Fair and Accurate Credit Transaction Act. The
                        20
                             endorsement then adds the following obscure language to the list of statutes for which coverage is
                        21
                             eradicated:
                        22
                                      (4) any federal, state or local statute, ordinance or regulation, other than the
                        23                TCPA, CAN-SPAM Act of 2003, or FCRA and their amendments
                                          and additions, or any other legal liability, at common law or otherwise,
                        24                that addresses, prohibits, or limits the printing, dissemination, disposal,
                                          monitoring, collecting, recording, use of, sending, transmitting,
                        25                communicating or distribution of material or information.
                        26            (Exhibit 1, pgs. "Zurich" 000167-168; Exhibit 2 pg. 000396).
                        27
                                      The posting of extremely personal and private images on a social media site does not fall
                        28

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                         1 within the recording and distribution exclusion. First, the posting of images is not a violation of

                         2 the TCPA, CAN-SPAM Act of 2003 or the FCRA, and Jane Doe never claimed that the uploading

                         3 of her images violated any of those statutes. Nor did Jane Doe claim that the posting of her photos

                         4 and video violated any other statute, ordinance or regulation. (Confidential Exhibits 4, 5).

                         5            While the exclusion also refers to “any other legal liability, at common law or otherwise,”
                         6 that phrase (buried deep within the exclusion), cannot be interpreted to wipe out coverage for

                         7 “publications in any manner” otherwise promised by AGLIC’s grant of “personal and advertising

                         8 injury” coverage. In Safeco Ins. Co. Robert S., 26 Cal.4th 758, 764-765 (2001), the Supreme Court

                         9 refused to enforce an “illegal act” exclusion on grounds that the term “illegal” was so broad that it
C O O K




                        10 could encompass any violation of law, including breaches of tort duty which would render the
&




                        11 insurer’s promise to cover bodily injury caused by accident illusory. The same analysis applies
B E N I N G




                        12 here. The phrase “any other legal liability, at common law or otherwise,” is so broad that it could

                        13 render AGLIC’s promise of libel coverage, slander coverage, disparagement coverage and invasion
S T U A R T ,




                        14 of privacy coverage illusory. See also Evanston Insurance Co. v. Gene by Gene, Ltd., 155 F.

                        15 Supp.3d 706 (S.D. Tex., 2016), where the court agreed that the insurer's construction of a

                        16 substantially similar exclusion was unreasonable, because it would render illusory the policy's
W I L L O U G H B Y ,




                        17 advertising injury coverage and personal injury coverage for claims arising out of publication of

                        18 material that violates a person's right of privacy. Id. at 712-713.

                        19            AGLIC's interpretation also violates the rule that context must be considered when
                        20 interpreting a policy provision. See Yahoo! Inc., supra, 255 F. Supp. 3d 970, 976-977.        The
                        21 principle of ejusdem generis precludes AGLIC's interpretation that the catchall subpart (4) applies

                        22 to preclude coverage for the posting of Jane Doe's confidential photos and videos to Facebook.

                        23 The ejusdem generis canon of construction instructs that catchall clauses are to be read as being

                        24 restricted to categories of the same general nature as those specifically enumerated. Berns v. Sentry

                        25 Select Ins. Co., 656 Fed. Appx. 326 *2 (9th Cir., 2016). The rule is "based on the obvious reason

                        26 that if the [writer] had intended the general words to be used in their unrestricted sense, [he or she]

                        27 would not have mentioned the particular things or classes of things which would in that event

                        28 become mere surplusage. White v. Ultramar, Inc., 21 Cal.4th 563, 573 (1999) [bracketed notations

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                         1 original].   The court in Evanston Insurance v. Gene by Gene, supra applied the doctrine of
                         2 ejusdem generis to interpret the scope of the catchall subpart excluding coverage for claims based

                         3 upon "any other statute, law, rule, ordinance, or regulation that prohibits or limits the sending,

                         4 transmitting, communication, or distribution of information or other material" . The court

                         5 concluded that the scope of the catchall provision was restricted to the same general categories as

                         6 the preceding subparts of the exclusion, which encompassed statutes governing unsolicited

                         7 communication to consumers that intrude into one's seclusion [the TCPA and CAN-SPAM Act

                         8 which are also specified in AGLIC's exclusion] . Id. at 711-712. Likewise, in Harleysville

                         9 Preferred Insurance Co. v. Rams Head Savage Mill, LLC, 237 Md. App. 705, 187 A.3d 797 (Md.
C O O K




                        10 App., 2018), the court applied the doctrine of ejusdem generis to find that the catchall provision in
&




                        11 a recording and distribution exclusion was limited to the same type of laws as the preceding
B E N I N G




                        12 categories protecting consumers from unwanted solicitations and the improper collection and

                        13 distribution of financial information [the TCPA, CAN-SPAM Act, and FCRA which are also
S T U A R T ,




                        14 specified in AGLIC's exclusion.] Id. at 735.

                        15                2. AGLIC's Confirmed Intent of the Catchall Provision Was Consistent
                        16                   With the Doctrine of Ejusdem Generis and Contravenes AGLIC's
                                             Current Contrary Interpretation
W I L L O U G H B Y ,




                        17
                                     The “recording and distribution” exclusion bears form no. U-GL-1517-B CW (04/13),
                        18
                             indicating the exclusion was first used in 2013. AGLIC submitted a similar exclusion, bearing
                        19
                             form no. U-GL-1517-A CW (01/12), to the Indiana Department of Insurance in December 2011.
                        20
                             (Exhibit 3). When AGLIC submitted its exclusion, it represented that the phrase “any other legal
                        21
                             liability, at common law or otherwise”:
                        22
                                                     clarifies our coverage intent by confirming our intent
                        23                           to exclude all causes of action arising out of Telephone
                                                     Consumer Act (TCPA), CAN-SPM [sic] Act of 2003,
                        24                           Fair Credit Reporting Act (FCRA) and Accurate [sic]
                                                     Credit Transaction Act (FACTA).
                        25
                                                     (Exhibit 3, pg.3, emphasis added)
                        26

                        27           AGLIC cannot use language intended to clarify its exclusion of certain statutory causes of

                        28 action to deprive an Indiana insured of its right to “personal and advertising injury” coverage for

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                         1 common law violations of privacy. In disclaiming coverage of Jane Doe's claim, AGLIC

                         2 misrepresented its submission to the Indiana Department of Insurance, arguing that the submission

                         3 addressed the first three prongs of the exclusion barring coverage for certain statutory violations.

                         4 (Confidential Ex. 23, pg. 8.) AGLIC's misrepresentation is revealed as false by AGLIC's own

                         5 redline version of the exclusion, which confirms that its submission specifically addressed changes

                         6 to the exclusion contained in the fourth prong adding the phrase “any other legal liability, at

                         7 common law or otherwise.” (Exhibit 3, pg. 13).

                         8            Drafting history of a policy is strong evidence of the intent of the policy. Fireguard
                         9 Sprinkler Systems v. Scottsdale Insurance, 864 F.2d 648, 653 (9th Cir., 1988). Prudential-LMI
C O O K




                        10 Commercial Insurance Co. v. Reliance Insurance Co,. 22 Cal.App.4th 1508, 1513 (1994)
&




                        11 (insurance industry publications are particularly persuasive as interpretive aids where they support
B E N I N G




                        12 coverage on behalf of the insureds). A construction given to the contract by the parties with

                        13 knowledge of its terms before any controversy has arisen as to its meaning, is entitled to great
S T U A R T ,




                        14 weight. Beneficial Fire and Casualty Insurance Company, 46 Cal.2d 517, 524 (1956). An insurer

                        15 is bound by its interpretation of its own policy. Middlesex Mutual Insurance Co. v. Ramirez, 116

                        16 Cal.App.3d 733, 740 (1981).
W I L L O U G H B Y ,




                        17              D.   AGLIC Wrongfully Denied Coverage Based Upon an
                                             Access or Disclosure Exclusion
                        18
                                      AGLIC next claimed that an exclusion, titled “Exclusion – Access or Disclosure of
                        19
                             Confidential or Personal Information and Data-Related Liability – Limited Bodily Injury Exception
                        20
                             Not Included,” also eliminated coverage for Jane Doe's invasion of privacy claims. (Confidential
                        21
                             Ex's 20 pg. 7; Ex. 24 pg. 9). This exclusion provides that the policy does not apply to “personal
                        22
                             and advertising injury” arising out of “any access to or disclosure of any person’s or organization’s
                        23
                             confidential or personal information, including patents, trade secrets, processing methods, customer
                        24
                             lists, financial information, credit card information, health information or any other type of
                        25
                             nonpublic information.” (Exhibit 1, pg. "Zurich" 000198).
                        26
                                      The phrases “personal information” and “any other type of nonpublic information” suffer
                        27
                             from the same overbreadth that renders the “recording and distribution” exclusion unenforceable
                        28

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                         1 when applied to Jane Doe's facts. Safeco Ins. Co. Robert S. (2001) 26 Cal.4th 758, 764-765. Only

                         2 by construing “personal information” and “any other nonpublic information” to mean all

                         3 information personal to Jane Doe could AGLIC apply the “access or disclosure” exclusion to

                         4 defeat coverage. But if the Exclusion applies to all information personal to Jane Doe, then the

                         5 exclusion also applies to all information personal to anyone, effectively vitiating all coverage for

                         6 libel, slander, and invasion of privacy, since those coverages each depend on the “publication” (i.e,

                         7 disclosure) of personal facts. (Exhibit 1, pg. "Zurich" 000190 ¶14(d) and (e).)

                         8           AGLIC's interpretation again contravenes the rule that the context must be considered
                         9 when interpreting a policy provision, and that the doctrine of ejusdem generis restricts the scope of
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                        10 generic catchall clauses. Yahoo! Inc., supra, 255 F. Supp. 3d 970, 976-977; White v. Ultramar,

                        11 Inc., supra, 21 Cal.4th at 573; Berns v. Sentry, supra 656 Fed. Appx. 326 *2. The specific
&
B E N I N G




                        12 examples enumerated by AGLIC in its exclusion are confined to the contexts of intellectual

                        13 property, business competition, financial privacy, and health care. The catchall phrase tacked on
S T U A R T ,




                        14 to the end of the exclusion cannot be interpreted expansively to encompass all other categories of

                        15 information which someone may consider personal. Even AGLIC has conceded that the “access

                        16 or disclosure” exclusion applies only to a small subset of invasion of privacy torts, and does not
W I L L O U G H B Y ,




                        17 apply to other privacy torts such as false light publicity. (Confidential Ex. 24, pg. 10.) Thus, by

                        18 AGLIC’s own admission, the “access or disclosure” exclusion cannot defeat coverage for Jane

                        19 Doe's damages, since Jane Doe's claim triggered coverage for false light publicity. The uploading

                        20 of extremely personal and private images to Jane Doe’s own Facebook page cast her in the falsest

                        21 of light by suggesting she had intended to publish the images herself.

                        22           If AGLIC intended to eliminate the violation of privacy coverage it granted, it had an

                        23 obligation to notify the insured in clear and precise terms that it was eliminating coverage.

                        24 California law requires that every exclusion must be conspicuous, plain and clear. Haynes v.

                        25 Farmers Ins. Exchange, 32 Cal.4th 1198, 1204 (2004). A policy exclusion is plain and clear when

                        26 its meaning is obvious to a layperson, “stated precisely and understandably, in words that are part

                        27 of the working vocabulary of the average layperson.” Id. This means more than the traditional

                        28 requirement that contract terms be “unambiguous.” Precision is not enough. Understandability is

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                         1 required. Id. at 1211. If not plain and clear, the exclusion cannot be enforced. Id. at 1204.

                         2 Obscuring the elimination of promised coverage in an exclusion that purports to address patents,

                         3 trade secrets, and financial and health information does not come close to complying with the

                         4 clarity and precision required by California law.

                         5              E. AGLIC's Wrongful Denial of Commercial Umbrella Coverage
                         6           AGLIC has disputed coverage under its umbrella policy on essentially the same grounds
                         7 that it has refused CGL coverage. (Confidential Ex. 21). AGLIC's denial is wrongful for the same

                         8 reasons. Additionally, although the umbrella policy expressly defines "personal and advertising

                         9 injury", to include pure "mental anguish, mental injury, humiliation", AGLIC imposed a non-
C O O K




                        10 existent "physical injury" requirement. (Confidential Ex. 21 pg. 7 ¶C).
&




                        11                                            CONCLUSION
B E N I N G




                        12           To prevail on this motion, PTSI need only show a bare potential that the claim fell within
                        13 the scope of AGLIC's coverage, that AGLIC wrongfully failed to provide a defense or coverage,
S T U A R T ,




                        14 and PTSI entered into a settlement with was reasonable in the sense that it reflected an informed

                        15 and good faith effort by PTSI to resolve the claim. PTSI has met its burden. AGLIC breached its

                        16 duty to defend and indemnify the settlement, and cannot escape the consequences of its breach by
W I L L O U G H B Y ,




                        17 asserting policy conditions it waived, nor by misinterpreting and misapplying exclusions.

                        18

                        19 DATED: August 23, 2019
                                                                             WILLOUGHBY, STUART, BENING & COOK
                        20

                        21
                                                                        By                    /S/
                        22
                                                                             ALEXANDER F. STUART
                        23                                                   Attorneys for Plaintiff

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